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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF OKLAHOMA




BARBARA ROMAN ,                                       )
                                                      )
                       Plaintiff,                     )
                                                      )
vs.                                                   )
                                                      )       Case No. CIV-05-0052-W
JO ANNE B. BARNHART,                                  )
Commissioner of the Social                            )
Security Administration,                              )
                                                      )
                       Defendant.                     )



                         FINDINGS & RECOMMENDATION
                             OF MAGISTRATE JUDGE

       Plaintiff brings this action pursuant to 42 U.S.C. §405(g) for judicial review of the final decision

of the Commissioner of the Social Security Administration denying her applications for disability

insurance benefits (DIB) under 42 U.S.C. §§416(i) and 423 and supplemental security income benefits

(SSI) under 42 U.S.C. §1382c(a)(3). This matter has been referred to the undersigned magistrate

judge for initial proceedings consistent with 28 U.S.C. §636(b)(1)(B), and for the reasons stated herein,

it is recommended that the Commissioner's decision be REVERSED AND REMANDED for further

administrative proceedings.

                                    PROCEDURAL HISTORY

       On September 8, 1999 Plaintiff protectively filed her applications for DIB and SSI alleging a

disability since June 1, 1999 (TR. 141, 142-144, 286, 287-290). The applications were denied on initial

consideration and on reconsideration at the administrative level (TR. 94, 95, 291, 295). Pursuant to

the Plaintiff's request, a hearing de novo was held before an administrative law judge (ALJ) on

September 13, 2000 (TR. 33-60). After an unfavorable decision, Plaintiff appealed and the Appeals

Council remanded the claim back to the same ALJ (TR. 126-128) At the second hearing on August 27,

2003 the Plaintiff appeared in person and with her attorney and offered testimony in support of the
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applications (TR. 64-89). A vocational expert (VE) testified at the request of the ALJ (TR. 89-92). The

ALJ issued his decision on September 22, 2003 finding that Plaintiff was not entitled to DIB or SSI (TR.

21-28). The Appeals Council denied the Plaintiff's request for review on November 16, 2004, and thus,

the decision of the ALJ became the final decision of the Commissioner (TR. 6-9).

                                        STANDARD OF REVIEW

       The Tenth Circuit case of Casias v. Secretary of Health & Human Services, 933 F.2d 799, 800-

801 (10th Cir. 1991), sets forth the standard of review for social security disability cases:

               We must affirm the decision of the Secretary if it is supported by substantial
               evidence. (citations omitted). Substantial evidence is "more than a mere
               scintilla. It means such relevant evidence as a reasonable mind might accept as
               adequate to support a conclusion." (citations omitted). In evaluating the appeal,
               we neither reweigh the evidence nor substitute our judgment for that of the
               agency. (citations omitted). We examine the record as a whole, including
               whatever in the record fairly detracts from the weight of the Secretary's decision
               and, on that basis, determine if the substantiality of the evidence test has been
               met. (citations omitted). If, however, the correct legal test in weighing the
               evidence has not been applied, these limitations do not apply, and such failure
               constitutes grounds for reversal. (citations omitted).

       Further, the Tenth Circuit has stated that "[a] finding of no substantial evidence will be found

only where there is a conspicuous absence of credible choices or no contrary medical evidence."

Trimiar v. Sullivan, 966 F.2d 1326, 1329 (10 th Cir. 1992) (citations omitted).

                                    DISCUSSION & FINDINGS

       In addressing the Plaintiff's disability applications the ALJ followed the five-step sequential

evaluation process set forth in 20 C.F.R. §404.1520. At step one, the ALJ found that the Plaintiff had

not engaged in substantial gainful activity since the alleged disability onset date, so the process

continued (TR. 27).     At step two, the ALJ concluded that the Plaintiff suffers from the severe

impairment of bilateral carpal tunnel syndrome (TR. 27). At step three, the ALJ found that the Plaintiff

did not have an impairment or combination of impairments which meet or equal any impairment listed




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in 20 C.F.R. Part 404, Subpart P, Appendix 1 (TR. 27). At step four, the ALJ found that Plaintiff lacked

the residual functional capacity RFC to perform her past relevant work (PRW) (TR. 27).

       At the point that step five is reached, a disability preventing prior work activity has been shown

and the burden shifts to the Commissioner to show that the claimant retains the ability to perform an

alternative work activity which exists in the national economy. Sorenson v. Bowen, 888 F.2d 706, 710

(10 th Cir. 1989); Ray v. Bowen, 865 F.2d 222, 224 (10 th Cir. 1989). The ALJ found that Plaintiff retained

the RFC to perform a “significant range of light work” (TR. 28). The ALJ applied the Medical-Vocational

Rules as a framework for decision-making and considered the testimony of the VE in determining there

were other jobs existing in significant numbers in the national economy which Plaintiff could perform.

Thus, the ALJ determined that Plaintiff was not disabled within the meaning of the Social Security Act

and was therefore not entitled to DIB or SSI (TR. 28).

       On appeal to this Court, Plaintiff alleges that the ALJ erred at step two of the sequential

evaluation process in determining that Plaintiff did not have a severe shoulder impairment; and further

erred in not providing the VE with a complete hypothetical question.

                                           Medical Evidence

       June 1998 x-rays of Plaintiff’s left shoulder and arm were normal (TR. 208).          A September

1998 MRI of Plaintiff’s left shoulder showed no abnormalities, including rotator cuff tear or joint

effusion (TR. 228).

       In October 1998 Plaintiff was examined by Juan R. Villazon, M.D. (neurologist), who reported

that Plaintiff’s range of motion in her left shoulder was decreased due to pain in the mid lateral arm

just below the deltoid; and that there was antalgic weakness of the shoulder (TR. 217). Dr. Villazon

reported that he was uncertain as to the etiology of the shoulder pain (TR. 218). In November 1998

Dr. Villazon reported that Plaintiff had shoulder pain which was triggered by abduction of the shoulder;

that she had focal tenderness and sensitivity to the light touch; and that she had limitation of shoulder




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abduction and could not elevate her arm overhead (TR. 211). Dr. Villazon further reported that Plaintiff

had not responded to focal injections of steroids and analgesics (TR. 211). He had no explanation for

Plaintiff’s focal pain in the lateral arm and recommended that she undergo a short course of physical

therapy to prevent the development of capsulitis or frozen shoulder (TR. 211).

       In August 1998 Plaintiff was examined by Robert J. Gunderson, D.O., who reported that

Plaintiff had full range of motion with excellent strength in her left shoulder (TR. 230). In September

1998 Dr. Gunderson reported that Plaintiff had a positive impingement sign and that he believed

Plaintiff had bursitis and possible supraspinatus tendonitis of her left shoulder (TR. 227).          On

November 24, 1998 Robert Gunderson, D.O., performed an anthroscopy of Plaintiff’s left shoulder with

subacromial decompression, irrigation and debridement of bursa and inspection of her rotator cuff (TR.

221-223). On December 2, 1998 Dr. Gunderson reported that Plaintiff was doing “ok” and had good

range of motion of her shoulder (TR. 224).

       In June 1999 Warren G. Low, M.D., diagnosed Plaintiff with chronic impingement syndrome of

the left shoulder with osteoarthritis of the acromioclavicular joint (TR. 233). He performed a diagnostic

arthroscopy of Plaintiff’s left shoulder (TR. 233-235). In August 1999 Dr. Low reported that Plaintiff

was doing well; that she had regained essentially a full range of motion; and that she felt she could

stop going to outpatient physical therapy (Tr. 262). Dr. Low agreed with Plaintiff and discontinued her

physical therapy (TR. 262). In October 1999 Dr. Low reported that Plaintiff had full range of motion of

her left shoulder (TR. 261). In February 2000 Dr. Low opined, abeit in a worker’s compensation

context, that Plaintiff was temporarily totally disabled from the performance of her normal work

activities due to carpal tunnel release and neurolysis and anterior shoulder pain (TR. 280).

       In May 2003 Plaintiff was examined by Akram Abraham, M.D., who reported that Plaintiff had

severe pain and limited range of motion of her left shoulder (TR. 303). In August 2003 Dr. Abraham

assessed Plaintiff as having left shoulder pain (TR. 301).




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       A Physical RFC Assessment completed in October 1999 by an agency physician concluded that

Plaintiff could occasionally lift and/or carry 50 pounds and frequently lift and/or carry 25 pounds; and

sit, stand and/or walk for a total of about six hours in an eight hour workday (TR. 251). The agency

physician further concluded that Plaintiff had no other exertional, postural, manipulative, visual,

communicative, or environmental limitations (TR. 251-254).

       Plaintiff urges on appeal that the ALJ erred in finding at step two that Plaintiff did not have a

severe shoulder impairment.     Step two of the Sequential Evaluation Process, is governed by the

Secretary's "severity regulation." Bowen v. Yuckert, 482 U.S. 137,140-41 (1987); Williams v. Bowen,

844 F.2d 748, 750-51 (10 th Cir. 1988). The "severity regulation" provides that:

               If you do not have any impairment or combination of impairments which
               significantly limits your physical or mental ability to do basic work
               activities, [the Secretary] will find that you do not have a severe
               impairment and are, therefore, not disabled. [The Secretary] will not
               consider your age, education, and work experience.

20 C.F.R. § 404.1520(c). Pursuant to this regulation, claimant must make a "threshold showing that

his medically determinable impairment or combination of impairments significantly limits his ability to

do basic work activities." Williams, 844 F.2d at 751. This threshold determination is to be based on

medical factors alone. Vocational factors, such as age, education, and work experience, are not to be

considered. Bowen, 482 U.S. at 153; Williams, 844 F.2d at 750.

       The ability to do basic work activities is defined as "the abilities and aptitudes necessary to do

most jobs." 20 C.F.R. § 404.1520(b). These abilities and aptitudes include the following:

               (1)     Physical functions such as walking, standing, sitting,
                       lifting, pushing, pulling, reaching, carrying, or handling;

               (2)     Capacities for seeing, hearing, and speaking;

               (3)     Understanding, carrying out, and remembering simple
                       instructions;

               (4)     Use of Judgment;




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                 (5)    Responding appropriately to supervision, co-workers and
                        usual work situations; and

                 (6)    Dealing with changes in a routine setting.

20 C.F.R. § 404.1521(b).

        Plaintiff's burden on the severity issue is de minimis. Williams, 844 F.2d at 751. As the United

States Supreme Court explains, the Secretary's severity regulation

                 increases the efficiency and reliability of the evaluation process by
                 identifying at an early stage those claimants whose medical impairments
                 are so slight that it is unlikely they would be found to be disabled even
                 if their age, education, and experience were taken into account.

Bowen, 482 U.S. at 153 (emphasis added). The Secretary's own regulations state that

                 [g]reat care should be exercised in applying the not severe impairment
                 concept. If an adjudicator is unable to determine clearly the effect of an
                 impairment or combination of impairments on the individual's ability to
                 do basic work activities, the sequential evaluation process should not
                 end with the not severe evaluation step. Rather, it should be continued.

Social Security Ruling 85-28 (1985). In other words, step two "is an administrative convenience [used]

to screen out claims that are 'totally groundless' solely from a medical standpoint." Higgs v. Bowen,

880 F.2d 860, 863 (6 th Cir. 1988) (per curiam) (quoting Farris v. Secretary of HHS, 773 F.2d 85, 89 n. 1

(6 th Cir. 1985)).

        The procedure for the evaluation of a mental or physical impairment is explained in 20 C.F.R.

1520a. However, a claimant has the initial burden to establish the existence of an impairment.

                 If you are not doing substantial gainful activity, we always look first at
                 your physical or mental impairment(s) to determine whether you are
                 disabled or blind. Your impairment must result from anatomical,
                 physiological, or psychological abnormalities which can be shown by
                 medically acceptable clinical and laboratory diagnostic techniques. A
                 physical or mental impairment must be established by medical evidence
                 consisting of signs, symptoms, and laboratory findings, not only by your
                 statement of symptoms.

20 C.F.R. § 404.1508. See also 20 C.F.R. § 404.1528 (“Symptoms are your own description of your

physical or mental impairment.      Your statements alone are not enough to establish that there is a



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physical or mental impairment.”)(emphasis in original).

       In light of the consistent and continuing medical evidence of Plaintiff’s shoulder pain and her

efforts, surgically and otherwise, to alleviate the pain discussed elsewhere in this opinion, it is apparent

that the ALJ erred in finding at step two that Plaintiff’s shoulder impairment was not severe. The ALJ’s

finding at step two taints the balance of the sequential evaluation, therefore, Plaintiff’s remaining

assertion of error will not be addressed in the report and recommendation.

                                             RECOMMENDATION

       Having reviewed the medical evidence of record, the transcript of the administrative hearing,

the decision of the ALJ and the pleadings and briefs of the parties, the undersigned magistrate judge

finds that the decision of the Commissioner is not supported by substantial evidence and should be

REVERSED AND REMANDED for further adm inistrative proceedings. The parties are advised

of their right to object to these findings and recommendation within twenty (20) days of the date of

the filing hereof, in accordance with 28 U.S.C. §636 and Local Court Rule 72.1 (a). The parties are

further advised that failure to make timely objection to these findings and recommendation waives

their right to appeal from a judgment of the district court based upon these findings and

recommendation. Moore v. United States, 950 F.2d 656 (10 th Cir. 1991).

       The foregoing Findings and Recommendation disposes of all issues referred to the undersigned

magistrate judge in the above captioned matter.

       ENTERED this the 17 th day of January, 2006.




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